                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:23-CV-347-RJC-DCK

 MARKAYLE GRAY,                                 )
                                                )
                 Plaintiff,                     )         CONSENT PROTECTIVE
                                                )               ORDER
    v.                                          )
                                                )
 CHARLOTTE SECONDARY SCHOOL                     )
 INC., and BOARD OF DIRECTORS                   )
 OF CHARLOTTE SECONDARY                         )
 SCHOOL INC.,                                   )
                                                )
                 Defendants.                    )
                                                )


         THIS MATTER IS BEFORE THE COURT on the Parties’ “Consent Motion For Entry

Of Protective Order” (Document No. 31) filed November 15, 2024. Having carefully considered

the motion and the record, the undersigned will grant the motion and enter the parties’ proposed

Protective Order as follows.

         The Parties, by consent and through counsel, pursuant to Rule 26(c) of the Federal Rules

of Civil Procedure and Local Civil Rule 26.2, anticipate the potential disclosure of personnel and

employment records and information, and student records and information, and recognize that the

private and confidential nature of such documents and information must be safeguarded pursuant

to N.C. Gen. Stat. §§ 115C-319, 115C-321, 115C-402 and 20 U.S.C. § 1232(g) and that good

cause exists for restricting dissemination of such documents. The Parties conditionally consent to

disclose said documents and information upon the conditions set forth in this Protective Order.

         IT IS, THEREFORE, ORDERED:




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      1.       That all documents and information relating to current or former students enrolled

in the Charlotte Secondary School, Inc., which are provided by the Board of Directors of Charlotte

Secondary School, Inc. (the “Board”) or its agents, attorneys, or current or former employees

(including the individual Defendants in this action) to any party as part of discovery in the above-

captioned case shall be covered by the terms of this Protective Order. Such documents shall be

deemed confidential without any further action by any party unless the parties or attorneys

mutually agree that any particular document or item of information is expressly designated as non-

confidential. The Board shall comply with the Family Educational Rights and Privacy Act

(FERPA), 20 U.S.C. § 1232(g), and its implementing regulations, which require the entry of a

court order or lawful subpoena, and reasonable efforts to provide notice to parent(s) or eligible

student(s) so that the parent or eligible student may seek protective action, prior to such production.

       2.      That all records and information that are maintained by law or policy in the

personnel, employment, or volunteer files of current or former employees or volunteers of the

Board, which are provided to any party in the above-captioned case, shall be covered by the terms

of this Protective Order. Such documents and information shall be deemed confidential without

any further action by any party unless the parties or attorneys mutually agree that any particular

document or item of information is expressly designated as non- confidential. Confidential

documents shall not include documents obtained by the parties under the North Carolina Public

Records Act, N.C. Gen. Stat. Chapter 132.

       3.      That all documents and information relating to Plaintiff’s medical and/or financial

records, which are provided to any party in the above-captioned case, shall be covered by the terms

of this Protective Order. Such documents shall be deemed confidential without any further action




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by any party unless the parties or attorneys mutually agree that any particular document or item of

information is expressly designated as non-confidential.

       4.      That any party that provides documents subject to this Protective Order shall label

said documents: “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER.” Each party

retains the right to challenge the confidentiality designation of any particular document and to have

the Court determine its proper designation.           Any challenge to the designating party’s

confidentiality designation shall be made as promptly as the circumstances permit, but no later

than thirty (30) days after the receipt of the designated documents by the receiving party.

       a.      A party wishing to challenge a confidentiality designation shall begin the process

               by conferring directly with counsel for the designating party. The challenging party

               must explain why it believes the confidentiality designation is improper. The

               designating party shall have five (5) business days in which to review the

               designated material and either re-designate the material or explain the basis for the

               chosen designation. A challenging party may not proceed to the next stage of the

               challenge process unless it has met and conferred, or attempted to meet and confer,

               with the designating party.

       b.      If the parties are unable to informally resolve a challenge to a particular designation,

               the challenging party may file and serve an appropriate motion to the Court that

               identifies the challenged designated documents and sets forth in detail the basis for

               the challenge. Each such motion must be accompanied by a competent declaration

               that affirms that the movant has complied with the meet and confer requirements

               imposed in the preceding paragraph and that sets forth with specificity the

               justification for the confidentiality designation that was given by the designating



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               party in the meet and confer dialogue. The designating party shall have the right to

               file and serve an appropriate response to the Court. Until the Court rules on the

               challenge, the material in question shall continue to be treated as confidential under

               the terms of this Order.

        5.     Except as may be otherwise provided by further order of the Court, protected

information and documents designated as confidential (“Confidential Documents”), as set forth

herein, as well as the matters contained therein and extracts and summaries thereof, shall be used

for no other purpose than prosecuting or defending this action and shall be disclosed only to the

persons identified in Paragraph 6.

       6.      Except as provided in Paragraph 7, access to or use of protected information or any

Confidential Documents, or any part thereof, as well as matters contained therein, shall be limited

to:

        a.     The Court;

        b.     The Parties;

        c.     The attorneys of record for the Parties, their associates, assistants, employees, and

               agents who are providing assistance to counsel in this action;

        d.     Court-appointed mediators or any mediator agreed to by all parties;

        e.     Consultants and experts involved in the preparation of the trial of this action;

        f.     Court reporters and their transcribers, assistants, and employees;

        g.     Any deponent or trial witness, to the extent that it is necessary to tender to such

               witness a confidential document in order to elicit testimony relevant to the matters

               at issue in this case;




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       h.      Members of the jury, to the extent that it is necessary for the jury to inspect a

               confidential document;

       i.      Law enforcement or postal employees, to the extent necessary to serve a subpoena;

               and

       j.      Any law enforcement agency in response to a lawful subpoena or court order. Any

               party, upon service of a subpoena seeking disclosure of any information or

               documents subject to this Protective Order, shall promptly notify all other parties.

       7.      No one subject to this Protective Order shall make public or disclose protected

information or Confidential Documents to anyone other than the persons listed in Paragraph 6,

provided that nothing herein shall preclude a witness, attorney, or the Court from reading aloud or

discussing the contents of a confidential document in open court or at depositions. The terms of

this Protective Order shall apply to all persons listed in Paragraph 6, and counsel who grant any

such person access to protected information or Confidential Documents shall have an affirmative

duty to furnish the person with a copy of this Protective Order. Individuals permitted access to

protected information or Confidential Documents are hereby ordered not to convey or otherwise

reveal said information or documents — whether originals or copies, in whole or in part — to

anyone who would not otherwise have access to them under this Protective Order.

       8.      If any Confidential Documents are used in connection with a deposition or other

discovery or documents filed with the Court, or are quoted or referenced in any memorandum,

pleading, or other paper filed with the Court, the deposition transcript, filing, or paper shall be

submitted to the Court in accordance with Local Civil Rules 6.1 and 7.1.

       9.      It is specifically agreed that making Confidential Documents available for

inspection, and the production of confidential information, materials, or documents, shall not



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constitute a waiver by the parties of any claim of confidentiality, and the production of such

information, materials, or documents shall not be considered as an acknowledgment that the

information, materials, or documents may be admissible into evidence at the trial of this action,

nor constitute a waiver of any objection that a party may have to the admissibility of information,

documents, or materials.

       10.     Nothing in this Protective Order shall require disclosure of material which the

conveying party contends is protected from disclosure by the attorney-client privilege, materials

produced in anticipation of litigation, or as constituting attorney work product materials.

Similarly, no party shall be deemed to have waived any objections to the relevancy,

discoverability, or any other objection under the Federal Rules of Civil Procedure or the Federal

Rules of Evidence in connection with any proceeding in this action.

       11.     The inadvertent, unintentional, or in camera disclosure of Confidential Documents

shall not, under any circumstances, be deemed a waiver, in whole or in part, of any party’s claims

of confidentiality.

       12.     Within sixty (60) days after entry of final judgment or dismissal in this litigation

(including appeals or petitions for review), the parties’ counsel, their staff, and all experts and/or

consultants for the parties shall return all Confidential Documents produced pursuant to this

Protective Order (including all copies of the same) to the party producing said information or shall

destroy the same with a written confirmation by the party’s counsel of record that all such

information and copies of the same have, in fact, been returned or destroyed; provided, counsel

shall be permitted to retain any copies of confidential material or information, including that

counsel’s litigation work product or evidence of privileged communications for their case files.

These copies shall continue to be maintained subject to the terms of this Protective Order.



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       13.     Each person who receives Confidential Documents submits himself or herself to

the personal jurisdiction of this Court, wherever he or she shall be, for the enforcement of the

provisions contained in this Order.

       14.     Any party may at any time seek modification of this Protective Order by agreement,

or failing agreement, by motion to the Court.

       SO ORDERED.
                           Signed: November 18, 2024




       CONSENTED TO:



 HKM EMPLOYMENT ATTORNEYS                              HARTZOG LAW GROUP LLP

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